IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

KODAK TRACTOR AND
EQUIPMENT COMPANY, LLC.

Plaintiff
VS. NO, 3:18-cy-00526-TAV-DCP

CNH INDUSTRIAL AMERICA, LLC, JURY DEMAND

Defendant

NOTICE OF DISMISSAL

COMES THE PLAINTIFF, KODAK TRACTOR AND EQUIPMENT
COMPANY, LLC., pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(1) and files this
Notice of Dismissal without prejudice.

KODAK TRACTOR AND
EQUIPMENT COMPANY, LLC

GEORGE R. GARRISON
BPR # 014102
Attorney for the Plaintiff

1142 Dolly Parton Parkway

Sevierville, Tennessee 37862
(865) 453-7990

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ATTORNEY’S CERTIFICATE:

I, GEORGE R. GARRISON, do hereby certify that I have forwarded this date a true
and exact copy of the forgoing Notice to Dismiss to:

JAMIE BALLINGER-HOLDEN

BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, P.C.,
265 Brookview Centre Way, Suite 600

Knoxville, Tennessee 37919

and MICHAEL J. GORMAN
MCDOWELL RICE SMITH & BUCHANAN, P.C.
Pro Hav Vice Admission
605 W. 47" Street, Suite 350
Kansas City, MO 64112

by bKepular U.S. Mail O electronic facsimile or 0 electronic mail.

This the } day of

, 2019.

I<
GEORGE R. GARRISON

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